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 1   Dustin D. Johnson (SBN: 234008)
     Two Rivers Law, P.C.
 2   2701 Del Paso Road, Suite 130-155
     Sacramento, CA 95835
 3   Phone: (877) 377-8070
     Fax: (916) 244-9889
 4

 5   Attorney for Christina Terry
 6

 7                                    UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9

10    United States of America,                        No. 2:18-cr-00070 CKD
11                       Plaintiff,
                                                       WAIVER OF DEFENDANT’S PRESENCE
12            v.
13    Christina Terry,
14                       Defendant.
15

16          Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, CHRISTINA
17   TERRY, hereby waives the right to be present in person in open court upon the hearing of any
18   motion or other proceeding in this case, including, but not limited to, when the case is set for trial,
19   when a continuance is ordered, and when any other action is taken by the court before or after
20   trial, specifically, appearances for any hearing regarding imposition of judgment and sentencing
21   or modification of conditions of supervised release.
22          Defendant hereby requests the Court to proceed during every absence which the Court
23   may permit to this waiver; agrees that defendant’s interests will be deemed represented at all
24   times by the presence of the defendant’s attorney, the same as if the defendant were personally
25   present; and further agrees to be present in court ready for trial any day and hour the Court may
26   fix the defendant’s absence.
27          The defendant further acknowledges being informed of the rights under Title 18 U.S.C. §§
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                                                        1
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 1   3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and dates
 2   under that Act without the defendant’s personal presence.
 3          The original signed copy of this waiver is being preserved by the attorney undersigned.
 4
     Dated: May 3, 2018                          /s/ Christina Terry
 5                                               Defendant
 6

 7      I agree and consent to my Client’s waiver of appearance
 8

 9   Dated: April 27, 2018                       /s/Dustin D. Johnson__________
                                                 DUSTIN D. JOHNSON
10                                               Attorney for Defendant

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12
            IT IS SO ORDERED
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     Dated: June 25, 2018
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